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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


 EMPLOYEES RETIREMENT SYSTEM OF THE CITY            Case No. 2:20-cv-04813
 OF ST. LOUIS, et al.,
                                                    Chief Judge Algenon L. Marbley
                    Plaintiffs,
                                                    Magistrate Judge Kimberly A.
        v.                                          Jolson

 CHARLES E. JONES, et al.,                          JURY TRIAL DEMANDED

                    Defendants,

        and

 FIRSTENERGY CORP.,

                    Nominal Defendant.




                     PLAINTIFFS’UNOPPOSED MOTION FOR
                    PRELIMINARY SETTLEMENT APPROVAL
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          A.        The Standards Governing Preliminary Approval ................................................. 13

 In considering whether to approve a derivative action settlement, courts typically follow a two-
 step process: (1) preliminary approval; and (2) notice followed by a fairness hearing. In re
 Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1015–16 (S.D. Ohio 2001). If the Court grants
 preliminary approval, it will direct the parties to disseminate notice of the Proposed Settlement
 and a fairness hearing. Brent v. Midland Funding, LLC, 2011 WL 3862363, at *12 (N.D. Ohio
 Sept. 1, 2011) (citing Williams v. Vukovich, 720 F.3d 909, 920–21 (6th Cir. 1983)). At the
 preliminary approval stage, the Court considers whether “the proposed settlement appears to be
 the product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not
 improperly grant preferential treatment to class representatives or segments of the class, and falls
 within the range of possible approval….” Telectronics, 137 F. Supp. 2d at 1015–16 (quoting
 Manual for Complex Litigation § 30.44 (2d ed. 1985)).


          B.        The Court Should Grant Preliminary Approval of the Proposed Settlement........ 15

                    1.         The Proposed Settlement is the Product of Serious, Informed, Non-
                               Collusive Negotiations .............................................................................. 15

 The Proposed Settlement is the product of serious, informed, non-collusive negotiations based on
 a robust factual record, including an extensive documentary record amounting to hundreds of

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 thousands of pages (broader than even the documentary record secured by the DOJ before it
 entered into a Deferred Prosecution Agreement with FirstEnergy) and responses to written
 discovery from all Defendants and FirstEnergy. See Castillo v. Morales, Inc., Case No. 12-cv-
 650, 2015 WL 13022263, at *1 (S.D. Ohio Aug. 12, 2015) (granting preliminary approval where
 settlement was “result of arms-length negotiations conducted after Class Counsel [had] adequately
 investigated the claims and became familiar with the strengths and weaknesses of those claims”).
 Further, the Proposed Settlement results from serious, non-collusive negotiations facilitated by
 retired United States District Judge Layn R. Phillips. “The participation of an independent
 mediator in settlement negotiations virtually [e]nsures that the negotiations were conducted at
 arm’s length and without collusion between the parties.” In re Wendy’s Co. S’holder Deriv.
 Action, Case No. 16-cv-1153 (S.D. Ohio Jan. 24, 2020), Preliminary Approval Order (Ex. 10
 hereto) at 14 (emphasis in original) (quoting Bert v. AK Steel Corp., No. 02-CV-467, 2008 WL
 4693747, at *2 (S.D. Ohio Oct. 23, 2008)). Retired Judge Phillips’s involvement has been
 specifically noted as a factor weighing in favor of settlement approval. See, e.g., Voulgaris v.
 Array Biopharma Inc., C.A. No. 17-cv-02789, 2021 WL 6331178, at *6 (D. Colo. Dec. 3, 2021).

                 2.      The Proposed Settlement Is Fair, Reasonable, and Adequate, and
                         Falls Within the Range of Possible Approval ........................................... 17

 The Proposed Settlement also “has no obvious deficiencies, does not improperly grant preferential
 treatment” to any constituency and easily “falls with the range of possible approval.” Telectronics,
 137 F. Supp. 2d at 1015–16. Indeed, it is one of the most significant settlements of a shareholder
 derivative action ever achieved.


                         a.       The $180 Million Monetary Component of the Proposed
                                  Settlement Represents a Highly-Favorable Recovery .................. 17

 The $180 million monetary component of the Proposed Settlement is an extraordinary result: three
 times the size of any prior derivative recovery in the history of the Sixth Circuit; among the largest
 derivative recoveries ever achieved, in any forum, in the history of the United States; and the third-
 largest insurer-funded derivative recovery on record. Though Plaintiffs had confidence in their
 ability to prevail on the merits at trial, Plaintiffs also identified certain risks including with respect
 to recoverability, given that the Individual Defendants’ personal assets and D&O insurance
 represented the only possible sources of recovery and further litigation would “waste” or erode the
 relevant insurance policies, risking that a comparable future judgment would be unrecoverable and
 a quintessential pyrrhic victory. Further, derivative litigation is “notoriously difficult and
 unpredictable,” Granada Invs., Inc. v. DWG Corp., 962 F.2d at 1205, including due to Ohio’s
 requirement to establish by “clear and convincing evidence” that the directors or officers acted or
 failed to act with “deliberate intent to cause injury” to FirstEnergy or with “reckless disregard” for
 FirstEnergy’s best interests. Ohio Rev. Code §§ 1701.59(E) and 1701.641(D). Despite these risks,
 Plaintiffs recovered a full 78.26% of the $230 million penalty imposed on FirstEnergy pursuant to
 the DPA--a recovery that compares favorably even with other significant settlements of derivative
 actions involving unusually large monetary recoveries. See, e.g., In re Pfizer Inc. S'holder Deriv.
 Litig., 780 F. Supp. 2d 336, 338 (S.D.N.Y. 2011) (approving settlement representing 3.26% of
 $2.3 billion in penalties connected to the relevant misconduct).


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                          b.        The Proposed Settlement’s Governance Reforms Constitute
                                    Important Additional Relief That Was Only Achievable
                                    Through a Negotiated Resolution ................................................. 21

 The Proposed Settlement also includes extremely significant corporate governance reforms
 including the departures of six Defendants from FirstEnergy’s board of directors (an
 unprecedented turnover); a comprehensive review by the newly refreshed Board of the current C-
 Suite executives, to be completed by no later than 90 days following the commencement of the
 review; and additional enhancements to oversight, disclosures, and alignment of incentives for
 executive compensation. These reforms will remain in effect for at least five years and were
 designed with the assistance of an experienced, outside corporate governance expert, Columbia
 Law School’s Jeffrey N. Gordon. Plaintiffs anticipate the reforms may ultimately prove just as
 valuable to FirstEnergy as the monetary component of the Proposed Settlement or any financial
 recovery that could have been achieved through trial. Maher v. Zapata Corp., 714 F.2d 436, 461
 (5th Cir. 1983) (the “effects of [a derivative] suit on the functioning of the corporation may have
 a substantially greater economic impact on it, both long- and short-term, than the dollar amount of
 any likely judgment”). Further, these reforms constitute “a form of relief that [plaintiffs] could
 not have obtained at trial” and so were only achievable through a negotiated resolution. In re
 Activision Blizzard, Inc. S’holder Litig., 124 A.3d 1025, 1067 (Del. Ch. 2015).


                          c.        The Proposed Settlement Provides FirstEnergy with
                                    Immediate Relief and Avoids the Trouble and Uncertainty
                                    of Further Litigation for the Company.......................................... 22

 The derivative nature of this litigation compelled Plaintiffs to act in the best interests of
 FirstEnergy at all times, including affording weight to FirstEnergy’s interests in avoiding the
 uncertainty, trouble, and distraction of further litigation arising from the bribery scandal and
 potential collateral harm that could befall the Company as a result of further adversarial litigation
 between the parties to this Action. See Wells Fargo, Case No. 16-cv-05541, ECF No. 274,
 Preliminary Approval Order at 9 (N.D. Cal. May 14, 2019) (Ex. 11 hereto) (granting preliminary
 approval for derivative settlement, recognizing that the proposed settlement would benefit the
 nominal defendant company by avoiding “lingering uncertainty” and facilitating “Wells Fargo’s
 efforts to move past this series of scandals”).


        C.      Attorneys’ Fees and Expenses .............................................................................. 23

 Plaintiffs’ Counsel and the SLC, on behalf of itself and the Company, will attempt in good faith to
 negotiate an appropriate award of attorneys’ fees and litigation expenses for all Plaintiffs’ Counsel
 based upon the substantial benefits conferred upon the Company by the Proposed Settlement and
 the risks of undertaking the prosecution of the Actions on a contingent basis. Any such agreement
 would be subject to Court approval. If Plaintiffs’ Counsel and the SLC are unable to reach
 agreement, Plaintiffs will submit an application to the Court. Any fee request submitted to this


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 Court will be based upon the substantial benefits conferred upon the Company by the Proposed
 Settlement and the risks of undertaking the prosecution of the Actions on a contingent basis, and
 will not exceed 27% of the Settlement Fund. Additionally, Co-Lead Counsel in the Southern
 District Action intend to apply to the Court for service awards for each of the Plaintiffs (“Service
 Awards”) in an amount not to exceed $10,000 for each Plaintiff, to be paid out of the Court-
 awarded attorneys’ fees and litigation expenses. Plaintiffs respectfully submit that, for present
 purposes, the Fee and Expense Award is within the range of possible approval. “It is not abnormal
 for negotiated attorneys’ fee awards to comprise between 20% to 30% of the total award.” Does
 1-2 v. Déjà vu Servs., Inc., 925 F.3d 886, 898 (6th Cir. 2019).


        D.        The Proposed Notice is Adequate and Reasonable............................................... 24

 The parties propose providing notice to current FirstEnergy stockholders by (a) filing a copy of
 the Stipulation and the Notice as an exhibit to a Form 8-K with the United States Securities and
 Exchange Commission, (b) posting a copy of the Settlement Stipulation and the Notice on the
 Company’s corporate website, which documents shall remain there through the Effective Date of
 the Settlement, and (c) publishing a Summary Notice in Investor’s Business Daily and over the PR
 Newswire. The proposed notice program is consistent with notice programs approved by other
 courts in this District as fully satisfying the requirements of Rule 23.1 of the Federal Rules of Civil
 Procedure and due process. See, e.g., Bailey v. White, 320 F. App’x 364, 367 (6th Cir. 2009)
 (“notice must ‘be reasonably calculated, under all the circumstances, to apprise interested parties
 of the pendency of the action and afford them an opportunity to present their objections’”) (quoting
 UAW v. Gen. Motors Corp., 497 F.3d 615, 629 (6th Cir. 2007))); In re Big Lots, Inc. S’holder
 Litig., Case No. 12-cv-445 (S.D. Ohio Apr. 6, 2018), ECF No. 120, Preliminary Approval Order
 at 4 (Ex. 12 hereto).
 V.     THE PARTES’ PROPOSED SCHEDULE OF EVENTS ................................................ 25

 The parties propose a standard schedule of events leading up to the Settlement Hearing including
 dates for provision of notice, filing papers in support of the Proposed Settlement and the Fee and
 Expense Award, and any comment by current FirstEnergy Stockholders.
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        Court-appointed Co-Lead Plaintiffs Employees Retirement System of the City of St. Louis

 (“St. Louis”) and Electrical Workers Pension Fund, Local 103, I.B.E.W (“Local 103”), together

 with additional Plaintiff Massachusetts Laborers Pension Fund (“MLPF,” and collectively with

 “Co-Lead Plaintiffs,” “Plaintiffs”), respectfully submit this Unopposed Motion for Preliminary

 Settlement Approval.

 I.     PRELIMINARY STATEMENT

        Plaintiffs bring shareholder derivative claims for breach of fiduciary duty and violations of

 the federal securities laws against numerous current and former directors and officers of nominal

 defendant FirstEnergy Corp. (“FirstEnergy” or the “Company”), alleging their involvement in an

 illicit scheme to bribe Ohio public officials to take favorable legislative and regulatory action on

 behalf of the Company. Plaintiffs are now pleased to report that, following 18 months of fiercely-

 contested litigation across two District Courts and the Sixth Circuit Court of Appeals, Plaintiffs

 have secured a historic global settlement (the “Proposed Settlement”) on behalf of FirstEnergy

 which, if approved, will resolve this Action and parallel derivative actions pending in the Northern

 District of Ohio and in the Ohio Court of Common Pleas (all together, the “Derivative Actions”).

 Significantly, all parties in all pending Derivative Actions, as well as the special litigation

 committee of FirstEnergy’s board of directors (the “SLC”), fully support the Proposed Settlement.

 This Motion is unopposed as to the relief sought.

        Plaintiffs brought this Action to achieve twin goals: (i) to remediate the financial harm to

 FirstEnergy as a result of the bribery scheme (including, most notably, a $230 million penalty paid

 by FirstEnergy pursuant to a Deferred Prosecution Agreement (the “DPA”) with the Department

 of Justice (the “DOJ”)); and (ii) to achieve internal governance reforms at the Company to deter

 and prevent the recurrence of misconduct in the future. The Proposed Settlement achieves these

 aims. Under the terms of the Proposed Settlement, FirstEnergy will receive $180 million. This
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 recovery is three times greater than any prior derivative recovery in the history of the Sixth Circuit1

 and among the largest derivative recoveries ever achieved, in any forum, in the history of the

 United States.2 Under the terms of the Proposed Settlement, FirstEnergy will also benefit from

 significant non-monetary relief, including the departures of six legacy directors who oversaw the

 misconduct from FirstEnergy’s board of directors (the “Board”), a prompt review of FirstEnergy’s

 remaining C-Suite executives by the newly-refreshed Board, and the Board’s formal undertaking

 of active oversight over FirstEnergy’s political spending and lobbying activities—no longer

 leaving that to management. These reforms—designed by Plaintiffs with the assistance of an

 experienced outside corporate governance expert, Columbia Law School Professor Jeffrey N.

 Gordon—are tailored to ensure that the newly-refreshed Board is properly empowered and takes

 full accountability for FirstEnergy’s lobbying, political contributions, and political activities, and

 that the Company’s future political activities remain aboveboard.

         Plaintiffs achieved this result by vigorously prosecuting their claims on behalf of the

 Company for 18 months with a team of more than 30 attorneys. Plaintiffs prevailed on myriad

 contested motions and secured extensive discovery over the strenuous efforts and objections of all

 Defendants and the SLC, including a document production broader than that obtained by the DOJ

 prior to its entry into the DPA with FirstEnergy. Through those efforts, Plaintiffs developed

 considerable confidence in their ability to ultimately prevail at trial, but also identified significant

 risks associated with further litigation—including as to the recoverability of damages. Having


         1
          See In re Community Health Sys., Inc. S’holder Deriv. Litig., No. 11-cv-00489 (M.D.
 Tenn. Jan. 17, 2017) (Transcript) (Ex. 1 hereto) (approving settlement comprised of $60 million
 payment and reforms, described as “the biggest derivative settlement in the Sixth Circuit”).
         2
          See Kevin LaCroix, “Largest Derivative Lawsuit Settlements,” THE D&O DIARY (updated
 Feb. 12, 2022) (available at: https://www.dandodiary.com/2014/12/articles/shareholders-
 derivative-litigation/largest-derivative-lawsuit-settlements/) (collecting largest derivative
 settlements).

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 weighed the strengths and weaknesses of their litigation position and the benefits to the Company

 available through a negotiated resolution, Plaintiffs engaged with Defendants and the SLC in

 extensive, arm’s-length, and hard-fought negotiations facilitated by a highly-experienced

 mediator, retired United States District Judge Layn R. Phillips. Those negotiations culminated in

 the Proposed Settlement. As explained below, the Proposed Settlement is an extraordinary result

 for FirstEnergy—likely superior to any result that could have been achieved through trial—and

 meets all of the requirements for preliminary approval under Rule 23.1 and relevant precedent.

 Accordingly, Plaintiffs respectfully request that the Court grant preliminary approval of the

 Proposed Settlement, approve the form and manner of the parties’ proposed Notice, and schedule

 a Settlement Hearing.

 II.    BACKGROUND AND PROCEDURAL HISTORY

        A.      FirstEnergy’s Bribery Scandal and the Ensuing Derivative Actions

        In July 2020, the DOJ filed an 80-page criminal complaint against former Ohio Speaker of

 the House Larry Householder and two FirstEnergy lobbyists, detailing a “sophisticated criminal

 conspiracy” in which FirstEnergy executives funneled more than $60 million in illicit payments to

 public officials, including Householder, in exchange for favorable official action. In announcing

 the complaint, the DOJ made unmistakably clear that FirstEnergy and its leaders remained the

 subject of investigation. The fallout from that revelation was catastrophic for FirstEnergy, leading

 to the firing of numerous senior executives and an onslaught of litigation and investigatory

 proceedings. See FirstEnergy Corp. Sec. Litig., Case No. 20-cv-0375, 2021 WL 2414763 at *2

 (S.D. Ohio June 14, 2021) (Marbley, J.) (detailing the “host of criminal and civil investigations,

 lawsuits, regulatory reviews and other proceedings” involving FirstEnergy).          A year later,

 FirstEnergy would concede its criminal liability in connection with the scheme. Specifically, on

 July 20, 2021, the Board authorized FirstEnergy’s entry into the DPA, pursuant to which the Board

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 agreed to use $230 million of FirstEnergy’s money to pay a criminal penalty and admitted that

 FirstEnergy executives had “conspired … to pay millions of dollars to and for the benefit of public

 officials in exchange for specific official action.”3

         In the meantime, between August and November of 2020, FirstEnergy shareholders

 commenced numerous derivative suits seeking to hold FirstEnergy officers and directors

 accountable for the harm incurred by the Company as a result of their involvement in the bribery

 scheme. Nine such actions were filed in this Court, which the Court subsequently consolidated

 into this Action, with St. Louis and Local 103 appointed to serve as Co-Lead Plaintiffs and their

 counsel appointed to serve as Co-Lead Counsel. See ECF No. 44; reported at Bloom v. Anderson,

 Case Nos. 20-cv-04534, 20-cv-04813, 20-cv-05128, 20-cv-05237, 20-cv-05529, 20-cv-05610,

 2020 WL 6710429 (S.D. Ohio Nov. 16, 2020); ECF No. 45; reported at Bloom v. Anderson, Case

 Nos. 20-cv-04534, 20-cv-04813, 20-cv-05128, 20-cv-05237, 20-cv-05529, 20-cv-05610, 20-cv-

 05876, 2020 WL 6737655, at *1 (S.D. Ohio Nov. 17, 2020) (consolidating subsequently filed

 derivative suit into this Action). One additional action was filed in the Northern District of Ohio

 (the “Northern District Action” or “NDA”);4 and two additional actions were filed and

 subsequently consolidated in the Court of Common Pleas for Summit County (the “State Court

 Action”).5




         3
        See USA v. FirstEnergy Corp., Case No.:21-cr-00086, ECF No. 3 (Deferred Prosecution
 Agreement) at 17 (S.D. Ohio July 22, 2021) (emphasis added).
         4
         The Northern District Action is captioned Miller v. Anderson et al., Case No. 5:20-cv-
 01743 (N.D. Ohio).
         5
           The State Court Action is captioned In re FirstEnergy Corp., Stockholder Derivative
 Litigation, Case No. CV-2020-07-2107 (Ohio Ct. of Common Pleas, Summit Cnty.).


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        B.      Plaintiffs’ Allegations Against the Defendants

        The allegations of Plaintiffs’ Consolidated Verified Shareholder Derivative Complaint in

 this Action (the “Complaint,” ECF No. 75) and their legal underpinnings are detailed exhaustively

 in this Court’s 44-page Opinion & Order denying Defendants’ motions to dismiss. See generally

 ECF No. 93; reported at Emps. Ret. Sys. of City of St. Louis v. Jones, Case No. 20-cv-04813, 2021

 WL 1890490 (S.D. Ohio May 11, 2021) (the “MTD Opinion”). 6 In sum, Plaintiffs alleged that:

 (i) certain current and former executive officers (the “Officer Defendants”) breached their

 fiduciary duties to FirstEnergy and committed other state law violations in connection with their

 perpetration of the bribery scheme;7 and (ii) certain current and former directors (the “Director

 Defendants”) breached their fiduciary duties to FirstEnergy by actively participating in the scheme

 when they allowed it to occur without intervention and by issuing false and misleading proxy

 statements concealing the scheme to secure their reelection in violation of Section 14(a) the

 Securities Exchange Act of 1934.8

        C.      Plaintiffs Defeat Defendants’ and the SLC’s Efforts to Dismiss or Stay
                FirstEnergy’s Claims

        In October 2020, Plaintiffs moved to intervene in the Northern District Action, seeking to

 transfer it to the Southern District for consolidation with this Action. See NDA ECF No. 17. While

 the plaintiff in the Northern District Action did not oppose that motion, Defendants did.



        6
          The other Derivative Actions pending in the Northern District and in State Court include
 certain additional defendants not named in this Action and, in the case of the State Court Action,
 certain additional causes of action (while omitting the federal claims asserted herein). The
 gravamen of each case is, however, the same, and all parties in all of the Derivative Actions have
 agreed to the Proposed Settlement as a global resolution of all of the pending Derivative Actions.
        7
          The Officer Defendants in this Action are Defendants Jones, Dowling, Pearson, Reffner,
 Strah, Taylor, and Yeboah-Amankwah.
        8
          The Director Defendants in this Action are Defendants Jones, Anderson, Demetriou,
 Johnson, Misheff, Mitchell, O’Neill, Pappas, Pianalto, Reyes, and Turner.

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 Defendants also sought to stay this Action pending resolution of their motions to dismiss the

 Northern District Action. But this Court denied that motion, finding that the threat of “duplicative

 litigation,” the basis on which Defendants sought a stay, was of “Defendants own doing.” ECF No.

 59 at 8; reported at Emps. Ret. Sys. of City of St. Louis v. Jones, 2020 WL 7487839, at *3 (S.D.

 Ohio Dec. 21, 2020).

        Plaintiffs thereafter filed their operative Complaint in this Action, Defendants moved to

 dismiss, and the parties engaged in extensive briefing thereon. ECF Nos. 75, 80, 86, 87.

 On May 11, 2021, the Court issued its comprehensive MTD Opinion sustaining all of Plaintiffs’

 claims against all Defendants in their entirety. 9 Two days later, the Northern District of Ohio

 issued a decision on Plaintiffs’ long-pending transfer motion: that Court declined to transfer its

 action, but allowed Plaintiffs to intervene and have their complaint deemed operative there. NDA

 ECF No. 72; reported at Miller v. Anderson, Case No. 20CV1743, 2021 WL 2255516 (N.D. Ohio

 May 13, 2021). Plaintiffs did so, filing in the Northern District Action a complaint substantively

 identical to the Complaint in this Action. NDA ECF No. 75. Defendants moved again to dismiss,

 but, following further briefing, the Northern District adopted this Court’s reasoning and likewise

 denied Defendants’ motions to dismiss. NDA ECF No. 117; reported at Miller v. Anderson, Case

 No. 20CV1743, 2021 WL 4220780 (N.D. Ohio Sept. 16, 2021).

        In July 2021, the FirstEnergy Board announced the formation of the SLC. By then, the

 Derivative Actions had been pending for nearly a year and this Court’s MTD Opinion already had

 been issued. Nevertheless, the SLC moved on July 20, 2021 to stay all of the Derivative Actions,



        9
           Defendants subsequently moved to certify an interlocutory appeal of the Court’s decision
 denying their motions to dismiss but the Court, on November 12, 2021, likewise denied that motion
 in its entirety. ECF No. 151; reported at Emps. Ret. Sys. of City of St. Louis v. Jones, 20-cv-4813,
 2021 WL 5275827 (S.D Ohio Nov. 12, 2021).

                                                  6
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 arguing it needed six months to investigate FirstEnergy’s claims. ECF No. 120. Plaintiffs opposed

 the requested stay, arguing that the belated formation of the SLC and its requests for a stay were a

 mere artifice to achieve delay and avoid discovery. ECF No. 127. Both this Court and the

 Northern District agreed. In a September 16, 2021 order denying the SLC’s motion to stay, the

 Northern District observed that “[b]y all appearances, FirstEnergy was willing to go without an

 SLC up until it realized these matters would not be dismissed at the pleadings stage.” NDA ECF

 No. 117 at 2; reported at Miller, 2021 WL 4220780, at *1. On October 20, 2021, this Court

 likewise denied the SLC’s requested stay, finding “the SLC offer[ed] no genuine justification for

 the delay in its creation” and that “indications of delay” in the formation of the SLC warranted a

 rejection of the motion. ECF No. 142; reported at Emps. Ret. Sys. of City of St. Louis v. Jones,

 Case No. 20-cv-4813, 2021 WL 4894833, at *3 (S.D. Ohio Oct. 20, 2021).

        The SLC initiated a flurry of appeals of this Court’s and the Northern District’s denials of

 the stay motion and petitioned to mandamus this Court and the Northern District in the Sixth

 Circuit Court of Appeals. Plaintiffs moved to dismiss the appeals for lack of jurisdiction and

 opposed the mandamus petitions as improper.           The Court of Appeals agreed, conclusively

 resolving that discovery in the federal Derivative Actions would proceed unimpeded. Emps. Ret.

 Sys. of City of St. Louis v. Jones, Nos. 21-3993/4041, 2021 WL 6067034 (6th Cir. Dec. 16, 2021).

        When the parties entered into the Term Sheet on February 9, 2022, the SLC had still not

 concluded its investigation or issued a report.

        D.      Plaintiffs Take Extensive Written and Document Discovery, Building a
                Strong Evidentiary Record to Support Their Claims

        On May 28, 2021, shortly after this Court issued its MTD Opinion, Plaintiffs served

 document requests on FirstEnergy and all Defendants. Responses were served on June 28, 2021.

 The parties thereafter engaged in negotiations concerning the scope of appropriate discovery, but


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 those negotiations were short lived: after the SLC filed its motions to stay on July 20, 2021,

 FirstEnergy and all Defendants refused to engage in any discovery until the SLC’s stay motions

 were resolved. Plaintiffs, however, continued to press for discovery. Because FirstEnergy had

 already made significant productions to the DOJ likely to encompass much of the record relevant

 to Plaintiffs’ claims, Plaintiffs saw no basis for FirstEnergy to refuse to produce at least those

 documents immediately. When Defendants refused to provide even these materials, Plaintiffs

 sought relief from this Court. Specifically, at Plaintiffs’ request, Magistrate Judge Jolson held

 discovery conferences on October 7, 2021 and October 27, 2021 (ECF Nos. 138, 144), ultimately

 resulting in FirstEnergy’s production of all documents previously produced to the DOJ as well as

 to the SEC.10    In the meantime, on November 8, 2021, the Northern District held a case

 management conference and ordered a discovery schedule that contemplated the completion of all

 paper discovery by January 17, 2022, with depositions to commence on February 1, 2022 and to

 be completed by May 1, 2022. NDA ECF No. 160.

        Over the ensuing months, Plaintiffs continued engaging in significant additional document

 and written discovery (including serving additional document requests, interrogatories and

 requests for admission), seeking material beyond that previously produced to the DOJ and SEC to

 further bolster the record in support of Plaintiffs’ claims. For months Plaintiffs fought vigorously

 to achieve the widest possible breadth of discovery. For example, FirstEnergy and the Defendants

 initially refused to produce documents dated before January 1, 2017 or after Householder’s arrest

 in July 2020. Through persistent efforts, however, Plaintiffs ultimately obtained FirstEnergy’s and


        10
            On November 23, 2021, FirstEnergy confirmed to Plaintiffs that it had “produced [to
 Plaintiffs] all documents that it produced in response to document requests from the DOJ and
 SEC.” See November 23, 2021 Letter from A. MacDonald to A. Zayenchik (Ex. 2 hereto). Those
 documents, 288,164 pages in all, were produced to Plaintiffs in three tranches between November
 5 and 19, 2021. See id.

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 all Defendants’ agreement to include in their productions all relevant information dated or created

 over a span of more than five years, commencing January 1, 2016 and extending until at least mid-

 June 2021. Following contentious negotiations, Plaintiffs also successfully convinced FirstEnergy

 to produce every single set of Board and Board committee meeting minutes and materials, without

 any culling for responsiveness, for that entire five-year period and through to the present. As to

 other categories of documents, Plaintiffs secured FirstEnergy’s agreement to search its custodial

 ESI using approximately 200 search terms and the Defendants’ agreement to search their custodial

 ESI using approximately 260 search terms. Plaintiffs further incessantly fought for and secured

 the Company’s and Defendants’ agreement to review and produce relevant text messages

 exchanged between each Defendant and 30 counterparties, without the application of search terms.

 Additionally, Plaintiffs secured FirstEnergy’s agreement to produce flight logs for the years 2016–

 2021, without the application of search terms or culling, as well as any phone logs for Defendants

 within FirstEnergy’s possession, custody, or control.

        Through the dogged efforts of a team of over 30 attorneys working on their behalf,

 Plaintiffs ultimately obtained and reviewed over 500,000 pages of documents produced by

 Defendants and third parties, including FirstEnergy’s auditors, PwC and Clearsulting LLC,

 FirstEnergy shareholders, Nathan Cummings Foundation and Green Century, illicitly funded

 501(c)(4) entities, Partners for Progress and Generation Now, multiple non-defendant former

 members of the Company’s board of directors, and Defendant Jones’ cellular service provider,

 Verizon. Plaintiffs also expended considerable effort in preparing for depositions, which were set

 to commence on February 10, 2022. 11


        11
          Although discovery proceeded apace in the federal Derivative Actions, the State Court
 Action remained at the pleading stage. There, Defendants’ motion to dismiss and the SLC’s
 motion to stay remained sub judice at the time of the Proposed Settlement.

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        Through these efforts, Plaintiffs developed a comprehensive and nuanced understanding

 of the events giving rise to this Action and of the strengths and weaknesses of their litigation

 position. Plaintiffs also determined that Defendants’ insurance coverage was the primary source

 of any recovery on the scale of the damages incurred by FirstEnergy as a result of the bribery

 scheme, and that those insurance policies were “wasting” and subject to erosion in connection with

 defense costs and settlements both in the Derivative Actions and in other related actions arising

 from the scheme.

        E.      The Parties Engage in Mediation Before Judge Phillips, Ultimately Resulting
                in the Proposed Settlement

        In late December 2021, the parties collectively agreed to schedule a mediation before

 retired United States District Judge Layn R. Phillips for purposes of exploring the possibility of a

 negotiated resolution. Following preliminary negotiations between the parties and an exchange of

 two rounds of detailed mediation statements, a mediation was held before Judge Phillips on

 February 1, 2022, with all parties in all of the Derivative Actions and the SLC participating. No

 agreement was reached at the 13-hour long mediation. Following the mediation, however, the

 parties continued to engage in several days (and nights) of intense negotiations facilitated by

 retired Judge Phillips.

        On February 9, 2022, the parties reached an agreement in principle for resolution of the

 Derivative Actions and executed a Term Sheet. The parties thereafter proceeded to negotiate the

 terms of the final Settlement Stipulation, which was executed on March 11, 2022, and is attached

 hereto as Exhibit 3. The Joint Declaration of Jeroen van Kwawegen and Thomas Curry, attached

 hereto as Exhibit 4, further details the litigation and settlement process. The Declaration of

 Professor Jeffrey N. Gordon, attached hereto as Exhibit 5, details his involvement in crafting the

 corporate governance reforms that are part of the Proposed Settlement.


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        Additionally, a declaration by Judge Phillips concerning the mediation process is attached

 hereto as Exhibit 6. As Judge Phillips explains therein, “[t]he mediation process was an extremely

 hard-fought negotiation from beginning to end and was conducted by experienced and able counsel

 on both sides. Throughout the mediation process, the negotiations between the Parties were

 vigorous and conducted at arm’s-length and in good faith” and “the arguments and positions

 asserted by all involved were the product of substantial work, they were complex and highly

 adversarial, and they reflected a detailed and in-depth understanding of the strengths and

 weaknesses of the claims and defenses at issue in this case.” Id. at ¶12.

        F.      Subsequent Developments

        On February 10, 2022, all parties to all three Derivative Actions filed joint motions to stay

 those Actions pending settlement proceedings in this Court. This Court and the Court of Common

 Pleas granted the requested stay. The Northern District did not. Instead, on February 11, 2022,

 the Northern District issued an Order and Decision that denied the requested stay without

 prejudice, expressed the Northern District’s view that Plaintiffs had taken insufficient discovery

 before entering the Proposed Settlement,12 requested 11 categories of information concerning the

 Proposed Settlement, and set a hearing to be held on March 9, 2022. NDA ECF No. 274. The

 parties to the Northern District Action and the SLC submitted responses to the Northern District’s

 information requests on February 22, 2022. Those responses are attached hereto as Exhibits 7-9.


        12
            The Court in the Northern District Action had previously, at a pair of January 2022 status
 conferences, indicated its view that mediation before deposition discovery would be premature.
 Plaintiffs, of course, considered the Northern District’s views before agreeing to the Proposed
 Settlement. However, Plaintiffs ultimately determined based on their intimate knowledge of the
 record and other circumstances relating to recoverability and the time value of proposed
 governance reforms that could only be obtained through a negotiated resolution, that pressing
 further litigation in lieu of the Proposed Settlement would only delay implementation of the
 reforms achieved by the Proposed Settlement while jeopardizing Plaintiffs’ ability to secure a
 monetary recovery for FirstEnergy on the scale of the $180 million ultimately achieved.

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 At the March 9, 2022 hearing in the Northern District Action, the Northern District reiterated its

 previously-expressed views concerning the Proposed Settlement and requested additional

 information from Plaintiffs’ counsel concerning the facts giving rise to the Derivative Actions and

 the Proposed Settlement. Thereafter, on March 11, 2022, the Northern District issued an order

 requesting briefing on the applicability of the mediation privilege to certain information requested

 by the Northern District at the March 9, 2022 hearing. NDA ECF No. 286. Responses to that

 order are due on March 16, 2022. Id. at 3.

 III.   THE TERMS OF THE PROPOSED SETTLEMENT

        The terms of the Proposed Settlement, which is fully supported by all parties in all of the

 Derivative Actions and by the SLC, are summarized below:

        Consideration: The Proposed Settlement contains two components. First, Defendants’

 insurers will pay $180 million to FirstEnergy. Ex. 3, Settlement Stipulation ¶2(a). Second,

 FirstEnergy will adopt the significant corporate governance reforms detailed in Exhibit A to the

 parties’ Settlement Stipulation. Id. at ¶2(b). Specifically, as part of the Proposed Settlement:

 (i) six defendant directors have agreed to leave FirstEnergy’s Board; (ii) the Board—which will

 thereafter consist of a supermajority of independent, non-defendant directors—will be required to

 assume responsibility to actively oversee FirstEnergy’s political spending and lobbying activities,

 implement a process to review the most senior executives of FirstEnergy who were not terminated

 in the wake of the bribery scandal, and ensure the Company’s compensation system, including

 claw-back policies, align executives’ financial incentives with legal compliance; and (iii)

 FirstEnergy will be required to make specific disclosures concerning its political activities in the

 Company’s annual proxy statements, thereby facilitating shareholders’ oversight and ability to

 remove directors who do not take their relevant oversight responsibilities seriously. Id. at Exhibit



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 A. The import of these governance improvements is discussed in Professor Gordon’s declaration,

 attached hereto as Exhibit 5.

        Release: In exchange for the consideration described above, the Proposed Settlement

 provides that all plaintiffs in all Derivative Actions will provide a customary global release, on

 behalf of the Company, of all derivative claims arising from facts alleged in any of the Derivative

 Actions. Notably, however, the Proposed Settlement does not release the Company’s existing

 claims for recoupment of compensation from three executives who were terminated by the

 Company in the wake of the scandal and are Defendants in the Derivative Actions: Jones, Dowling,

 and Chack. See Ex. 3 ¶1(z). Nor does the Proposed Settlement release any direct claims or other

 non-derivative claims against the Company or any third parties arising in any way from the bribery

 scheme (including those direct claims being prosecuted in the related action before this Court

 captioned In re FirstEnergy Corp. Sec. Litig., Case No. 20-cv-03785 (S.D. Ohio)).

        Attorneys’ Fees and Costs: In accordance with the Proposed Settlement, Plaintiffs intend

 to seek a Court-approved award of attorneys’ fees and expenses and to seek the Court’s permission

 to pay, from any awarded attorneys’ fees and expenses, service awards to each of the Plaintiffs in

 the Derivative Actions. See id. ¶¶16–21.

 IV.    ARGUMENT

        A.      The Standards Governing Preliminary Approval

        Pursuant to Federal Rule of Civil Procedure Rule 23.1(c), “[a] derivative action may be

 settled . . . only with the court’s approval.” The Sixth Circuit has recognized, however, that

 “settlements are welcome” in shareholder derivative actions and that, “[a]bsent evidence of fraud

 or collusion, such settlements are not to be trifled with.” Granada Invs., Inc. v. DWG Corp., 962

 F.2d 1203, 1205 (6th Cir. 1992). In considering whether to approve a derivative action settlement,

 courts typically follow a two-step process: (1) preliminary approval; and (2) notice followed by a

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 fairness hearing. See In re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1015–16 (S.D.

 Ohio 2001). If the Court grants preliminary approval, it will direct the parties to disseminate notice

 of the Proposed Settlement and the Settlement Hearing to other Company stockholders. Brent v.

 Midland Funding, LLC, No. 11 CV 1332, 2011 WL 3862363, at *12 (N.D. Ohio Sept. 1, 2011)

 (citing Williams v. Vukovich, 720 F.3d 909, 920–21 (6th Cir. 1983)). At the Settlement Hearing,

 the Court will then consider and make a final determination as to whether the Proposed Settlement

 is “fair, reasonable, and adequate.” Id.

        The preliminary approval stage requires the Court to conduct a “threshold inquiry” that

 serves as “only the first step in an extensive and searching judicial process” leading to potential

 final approval of the Proposed Settlement. In re Inter-Op Hip Prothesis Liab. Litig., 204 F.R.D.

 330, 337–38 (N.D. Ohio 2001). At this stage, the Court “is not obligated to, nor could it

 reasonably, undertake a full and complete fairness review.” Id. at 350; see also In re Regions

 Morgan Keegan Sec.,, No. 08-2260, 2015 WL 11145134, at *4 (W.D. Tenn. Nov. 30, 2015) (at

 preliminary approval stage, the court “decides whether notice of the proposed settlement would be

 appropriate, but makes no final determination about the settlement’s fairness”). Instead, the Court

 considers whether “the proposed settlement appears to be the product of serious, informed, non-

 collusive negotiations, has no obvious deficiencies, does not improperly grant preferential

 treatment to class representatives or segments of the class, and falls with the range of possible

 approval….” Telectronics, 137 F. Supp. 2d at 1015–16 (quoting Manual for Complex Litigation

 § 30.44 (2d ed. 1985)); see also Bowling v. Pfizer, 144 F. Supp. 3d 945, 952 (S.D. Ohio 2015)




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 (preliminary approval is warranted if settlement falls “within the range of what ultimately could

 be considered fair, reasonable, and adequate”). 13

        B.      The Court Should Grant Preliminary Approval of the Proposed Settlement

        Where a “proposed settlement appears to be the product of serious, informed, non-collusive

 negotiations, has no obvious deficiencies, does not improperly grant preferential treatment to class

 representatives or segments of the class, and falls within the range of possible approval,”

 preliminary approval is appropriate. Telectronics, 137 F. Supp. 2d at 1015–16. The Proposed

 Settlement here meets this standard and should, accordingly, be preliminarily approved.

                1.      The Proposed Settlement is the Product of Serious, Informed, Non-
                        Collusive Negotiations

        The Proposed Settlement is the product of “serious, informed, non-collusive

 negotiations[.]” Id. Plaintiffs were unquestionably adequately informed concerning the facts

 giving rise to this litigation, and the strengths and weaknesses of their case, prior to negotiating

 the Proposed Settlement. Indeed, as detailed above, Plaintiffs secured and reviewed an extensive

 documentary record that amounted to hundreds of thousands of pages and was broader than even




        13
            Recent amendments to Rule 23(e), which governs class actions rather than derivative
 suits, but are nonetheless relevant by analogy, now explicitly set forth factors to consider in
 determining whether a proposed settlement is “fair, reasonable, and adequate.” See Fed. R. Civ.
 P. 23(e)(2). Specifically, the Rule now requires courts to consider whether: (i) class
 representatives and class counsel have adequately represented the class; (ii) the proposal was
 negotiated at arm’s length; (iii) the relief provided for the class is adequate; and (iv) the proposal
 treats class members equitably. Id. These amendments to the Rule were not intended to “displace”
 the factors developed by the Circuit Courts. See Fed. R. Civ. P. 23(e)(2) 2018 Advisory Comm.
 Notes. “Therefore, in considering whether to approve the parties’ proposed settlement, a District
 Court in the Sixth Circuit should look to both the factors found in Rule 23 as well as the Sixth
 Circuit’s traditional factors.” Doe v. Ohio, Case No. 91-cv-00464, 2020 WL 728276, at *3 (S.D.
 Ohio Feb. 12, 2020). Consistent with case law governing derivative settlements, these factors
 reflect both procedural concerns (e.g., the conduct of the litigation and of negotiations leading to
 the proposed settlement) and substantive concerns (e.g., the relief provided). See Fed. R. Civ. P.
 23(e)(2) 2018 Advisory Comm. Notes.

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 the documentary record secured by the DOJ before it entered into the DPA with FirstEnergy.

 Plaintiffs also received responses to written discovery from all Defendants and from FirstEnergy.

 This substantial discovery armed Plaintiffs with the factual record necessary to negotiate the terms

 of the historic Proposed Settlement. See Castillo v. Morales, Inc., Case No. 12-cv-650, 2015 WL

 13022263, at *1 (S.D. Ohio Aug. 12, 2015) (granting preliminary approval where settlement was

 “result of arms-length negotiations conducted after Class Counsel [had] adequately investigated

 the claims and became familiar with the strengths and weaknesses of those claims”).

        There also can be no question that the Proposed Settlement results from extensive

 negotiations that were serious and non-collusive. Indeed, it results from intense negotiations

 facilitated by retired United States District Judge Layn R. Phillips, who is a preeminent mediator.

 As Judge Phillips explains in his attached declaration, “[t]he mediation process was an extremely

 hard-fought negotiation from beginning to end and was conducted by experienced and able counsel

 on both sides. Throughout the mediation process, the negotiations between the Parties were

 vigorous and conducted at arm’s-length and in good faith.” Ex. 6 at ¶12.

        As this Court has aptly explained, “[t]he participation of an independent mediator in

 settlement negotiations virtually [e]nsures that the negotiations were conducted at arm’s length

 and without collusion between the parties.” In re Wendy’s Co. S’holder Deriv. Action, Case No.

 No. 16-cv-1153 (S.D. Ohio Jan. 24, 2020), Preliminary Approval Order (Ex. 10 hereto) at 14

 (emphasis in original) (quoting Bert v. AK Steel Corp., No. 02-CV-467, 2008 WL 4693747, at *2

 (S.D. Ohio Oct. 23, 2008)). And numerous courts throughout the country have acknowledged the

 involvement of retired Judge Phillips in particular as a factor weighing in favor of settlement

 approval. See, e.g., Voulgaris v. Array Biopharma Inc., Civil Action No. 17-cv-02789, 2021 WL

 6331178, at *6 (D. Colo. Dec. 3, 2021) (“The arm’s-length nature of the parties’ negotiations and



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 the active involvement of an independent mediator, such as Judge Phillips in particular, provide

 strong support for approval of the Settlement.”); IBEW Local 697 Pension Fund v. Int'l Game

 Tech., Inc., No. 09-cv-00419, 2012 WL 5199742, at *2 (D. Nev. Oct. 19, 2012) (finding settlement

 fair when it was reached with “the assistance of an experienced and reputable private mediator,

 retired Judge Phillips”).

                  2.     The Proposed Settlement Is Fair, Reasonable, and Adequate, and
                         Falls Within the Range of Possible Approval

        The Proposed Settlement also “has no obvious deficiencies, does not improperly grant

 preferential treatment” to any constituency and easily “falls within the range of possible approval.”

 Telectronics, 137 F. Supp. 2d at 1015–16. Indeed, it is one of the most significant settlements of

 a shareholder derivative action ever achieved, including both a significant monetary recovery and

 unprecedented internal governance reforms tailored to improve FirstEnergy’s corporate

 governance disclosure obligations and prevent the recurrence of misconduct going forward.

                         a.       The $180 Million Monetary Component of the Proposed
                                  Settlement Represents a Highly-Favorable Recovery

        The $180 million monetary component of the Proposed Settlement is, as noted, three times

 the size of any prior derivative recovery in the history of the Sixth Circuit14 and among the largest

 derivative recoveries ever achieved, in any forum, in the history of the United States. 15 Indeed, it

 is the third-largest insurer-funded derivative recovery on record. 16        It also represents an



        14
             See note 1, supra.
        15
             See note 2, supra.
        16
            The only larger such recoveries known to Plaintiffs were achieved in In re Wells Fargo
 & Company Shareholder Derivative Litigation, C.A. No. 3:16-cv-05541 (N.D. Cal. 2020) ($240
 million insurer-funded cash recovery in action alleging breaches of fiduciary duty in connection
 with an illicit scheme to create millions of customer accounts without customers’ knowledge) and
 In re the Boeing Company Derivative Litigation, C.A. No. 219-0907 (Del. Ch. 2022) ($237.5


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 extraordinary result for FirstEnergy in this case, comparing favorably with any recovery that

 Plaintiffs could reasonably have hoped to recover following trial, an inevitable appeal, and the

 entry of a final judgement. Though Plaintiffs believed their claims were strong and had confidence

 in their ability to prevail on the merits at trial, Plaintiffs also identified certain risks inherent in

 pressing further litigation in lieu of the Proposed Settlement.

         In particular, Plaintiffs harbored serious concerns regarding recoverability, given that the

 Individual Defendants’ personal assets and D&O insurance represented the only possible sources

 of recovery for Plaintiffs’ claims asserted on behalf of FirstEnergy. The Proposed Settlement,

 significantly, captures the vast majority of Defendants’ available D&O insurance, which Plaintiffs

 reasonably determined represented the primary source of any recovery on the scale of the damages

 alleged. Defendants’ relevant policies are “wasting” policies, subject to erosion to pay defense

 costs and settlements in this Action as well as defense costs and any settlements in other related

 actions. Pressing further litigation in lieu of settlement therefore created a serious risk of

 substantial erosion of the policies, rendering any future judgment on the scale of $180 million

 unrecoverable and a quintessential pyrrhic victory. 17

         Further, given the nature of the alleged misconduct in this Action, Plaintiffs also harbored

 concerns that, if a negotiated resolution could not be reached at this time, they would ultimately

 face additional or collateral litigation with Defendants’ insurers regarding their obligation to cover

 Defendants in connection with the wrongful acts alleged. See, e.g., In re Galena Biopharma, Inc.



 million insurer-funded cash recovery in action alleging breaches of fiduciary duty in connection
 with oversight failures leading to mass-fatality aircraft disasters).
         17
            At the time of Proposed Settlement, Defendants possessed approximately $220 million
 in remaining insurance coverage, subject to potential erosion in connection with defense costs or
 settlements of the Derivative Actions, as well as multiple other related actions including, for
 instance, the pending related consolidated federal securities class action.

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 Deriv. Litig., Case No. 14-cv-00516, 2016 WL 10840600, at *2 (D. Or. June 24, 2016) (noting the

 individual defendants’ “insurers dispute coverage and if the Action does not settle and continues

 to be litigated, there is a risk that insurance coverage will be denied and an additional insurance

 coverage lawsuit may ensue”).

        Moreover, though Plaintiffs were highly confident in the merits of their claims, derivative

 litigation is “notoriously difficult and unpredictable,” Granada Invs. 962 F.2d at 1205, and besides

 the time-value of money, litigating this Action through trial and possible appeals was not a risk-

 free proposition. Notably, to recover damages for alleged breaches of fiduciary duty under Ohio

 law, Plaintiffs would have been required to prove by “clear and convincing evidence” that the

 directors or officers acted or failed to act with “deliberate intent to cause injury” to FirstEnergy or

 with “reckless disregard” for FirstEnergy’s best interests. Ohio Rev. Code §§ 1701.59(E) and

 1701.641(D). Satisfying this standard, particularly as to the Director Defendants, would have

 presented challenges. It is widely-recognized that fiduciary breach claims premised on oversight

 failures, even in jurisdictions such as Delaware with standards of proof lower than Ohio’s “clear

 and convincing” evidence standard, are “possibly the most difficult theory in corporation law upon

 which a plaintiff might hope to win a judgment.” See In re Caremark Int'l Inc. Deriv. Litig., 698

 A.2d 959, 967 (Del. Ch. 1996).

        Similarly, Plaintiffs faced potential appellate issues with respect to Plaintiffs’ theory of

 liability for the Director Defendants under Section 14(a) of the Exchange Act. As this Court

 recognized when denying Defendants’ motions to dismiss, “the Sixth Circuit has yet to define

 ‘transaction causation’ for purposes of a Section 14(a) claim under circumstances analogous to

 those presented here.” MTD Opinion at 30. Although this Court correctly denied Defendants’

 motion for interlocutory appeal regarding this issue (ECF No. 151), the lack of clear controlling



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 precedent by the Sixth Circuit created risk and could have resulted in a prolonged appellate process

 even after a successful trial, which militates in favor of approving the Propose Settlement.

 See Thacker v. Chesapeake Appalachia, L.L.C., 695 F. Supp. 2d 521, 531 (E.D. Ky. 2010), aff'd

 sub nom., Poplar Creek Dev. Co. v. Chesapeake Appalachia, L.L.C., 636 F.3d 235 (6th Cir. 2011)

 (approving settlement “[g]iven the unsettled nature of the law with respect to certain claims”).

        Given these practical limitations and risks, among others, the $180 million monetary

 component of the Proposed Settlement is an extraordinary result. Plaintiffs’ damages case has

 centered on the $230 million penalty imposed on FirstEnergy pursuant to the DPA, a full 78.26%

 of which is recovered by the Proposed Settlement.18 This recovery, even assuming significant

 additional damages, compares favorably with other significant settlements of derivative actions

 involving unusually large monetary recoveries. See, e.g., In re Pfizer Inc. S'holder Deriv. Litig.,

 780 F. Supp. 2d 336, 338 (S.D.N.Y. 2011) (granting final approval of derivative settlement with

 $75 million monetary component, which represented 3.26% of $2.3 billion in penalties paid to the

 federal government in connection with the relevant misconduct). All things considered, the $180

 million recovery here is a striking result as compared both to precedent and to what Plaintiffs could

 reasonably have hoped to recover following trial.



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            At the time of the Proposed Settlement, it was not possible to determine the total damages
 incurred by FirstEnergy with precision, as much of those damages remained speculative. For
 instance, damages associated with the amorphous reputational harm inflicted upon the Company
 as a result of the bribery scandal are very difficult to quantify. The same is true regarding estimates
 of the potential liabilities facing FirstEnergy in the related consolidated federal securities class
 action and consolidated consumer class action, as well as potential liabilities flowing from ongoing
 regulatory proceedings. The sources of readily identifiable damages to FirstEnergy included
 principally the $230 million penalty imposed by the DPA, the approximately $60 million in
 corporate funds misappropriated for use in the bribery scheme, the more than $100 million in
 compensation FirstEnergy paid to the Individual Defendants while the scheme was on going, and
 the Company’s defense costs incurred in connection with the various related actions and regulatory
 investigations, which FirstEnergy regularly discloses in its filings with the SEC.

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                        b.         The Proposed Settlement’s Governance Reforms Constitute
                                   Important Additional Relief That Was Only Achievable
                                   Through a Negotiated Resolution

        The Proposed Settlement, moreover, pairs its historic monetary recovery with extremely

 significant corporate governance reforms. These reforms were designed by Plaintiffs with the

 assistance of an experienced, outside corporate governance expert, Columbia Law School’s Jeffrey

 N. Gordon, and are tailored to prevent recurrence of similar misconduct in the future while

 restoring FirstEnergy’s reputation with regulators, shareholders, customers, and the public. As

 Professor Gordon explains in his attached declaration, the achieved reforms “will significantly

 improve shareholder welfare at FirstEnergy and also help establish an improved template for board

 responsibility-taking and accountability-enabling in the challenging area of the Company’s

 political activity.” Ex. 5 ¶22.

        Here, the Proposed Settlement ensures that the Board will be refreshed at FirstEnergy’s

 annual meeting in Spring 2022, rather than at some indeterminate time in the future, or not at all.

 Further, within 30 days of that annual meeting, the refreshed Board will engage in a comprehensive

 review of the Company’s current C-Suite executives, to be completed by no later than 90 days

 following the commencement of the review. Accordingly, FirstEnergy stockholders will be able

 to take comfort that the senior-most members of the Company have been reviewed by a refreshed

 Board no later than 120 days after the Company’s annual meeting. The other corporate governance

 reforms will take effect immediately upon final approval of the Proposed Settlement, and will

 ensure significantly enhanced oversight, disclosures, and alignment of incentives for executive

 compensation.

        Plaintiffs believe that the achieved reforms ultimately may prove even more valuable to

 FirstEnergy than the monetary component of the Proposed Settlement. Cf. Maher v. Zapata, 714

 F.2d 436, 461 (5th Cir. 1983) (recognizing that the “effects of [a derivative] suit on the functioning
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 of the corporation may have a substantially greater economic impact on it, both long- and short-

 term, than the dollar amount of any likely judgment”); see also Pfizer, 780 F. Supp. 2d at 342

 (recognizing reforms aspects of settlement to “provide considerable corporate benefits … in the

 form of a significantly improved institutional structure for detecting and rectifying the types of

 wrongdoing that have … caused extensive harm to the company”). 19 Notably these reforms

 constitute “a form of relief that [plaintiffs] could not have obtained at trial” and that was, therefore,

 only achievable through a negotiated resolution. In re Activision Blizzard, Inc. S’holder Litig.,

 124 A.3d 1025, 1067 (Del. Ch. 2015) (commenting favorably on non-monetary aspects of a

 shareholder derivative settlement).

                         c.      The Proposed Settlement Provides FirstEnergy with
                                 Immediate Relief and Avoids the Trouble and Uncertainty of
                                 Further Litigation for the Company

         Finally, the derivative nature of this litigation compelled Plaintiffs to act in the best

 interests of FirstEnergy at all times. This required Plaintiffs to weigh FirstEnergy’s interests in

 avoiding the uncertainty and distraction of further litigation arising from the bribery scandal and

 potential collateral harm that could befall the Company as a result of further adversarial litigation

 between the parties to this Action. See Wells Fargo, C.A. No. 16-cv-05541, ECF No. 274,

 Preliminary Approval Order at 9 (Ex. 11 hereto) (granting preliminary approval for derivative

 settlement, recognizing that the proposed settlement would benefit the nominal defendant

 company by avoiding “lingering uncertainty” and facilitating “Wells Fargo’s efforts to move past

 this series of scandals”) (N.D. Cal. May 14, 2019) (citing In re Apple Computer, Inc. Deriv. Litig.,



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            See also Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 395 (1970) (recognizing that “a
 corporation may receive a ‘substantial benefit’ from a derivative suit … regardless of whether the
 benefit is pecuniary in nature”); AOL Time Warner S’holder Deriv. Litig., No. 02 Civ. 6302, 2006
 WL 2572114, at *4 (S.D.N.Y. Sept. 6, 2006) (non-monetary benefits alone can be “substantial
 enough to merit [settlement] approval”).
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 No. C 06-4128, 2008 WL 4820784, at *2 (N.D. Cal. Nov. 5, 2008) (“The principal factor to be

 considered in determining the fairness of a settlement concluding a shareholders’ derivative action

 is the extent of the benefit to be derived from the proposed settlement by the corporation, the real

 party in interest.”)).

         The Proposed Settlement here provides FirstEnergy with meaningful financial

 compensation for the financial harm caused by the bribery scandal, implements reforms to deter

 and prevent the recurrence of misconduct, and provides certainty and finality to the Company,

 facilitating its efforts to move past the scandal. Plaintiffs submit that it is an extraordinary result

 for the Company and one easily meeting the requirements for preliminary approval.

         C.      Attorneys’ Fees and Expenses

         Plaintiffs’ counsel and the SLC, on behalf of itself and the Company, will attempt in good

 faith to negotiate an appropriate award of attorneys’ fees and litigation expenses for Plaintiffs’

 counsel in all Derivative Actions based upon the substantial benefits conferred upon the Company

 by the Proposed Settlement and the risks of undertaking the prosecution of those Actions on a

 contingent basis. Any such agreement would be subject to Court approval. Any fee request

 submitted to this Court, whether agreed to by the SLC or not, will be based upon the substantial

 benefits conferred upon the Company by the Proposed Settlement and the risks of undertaking the

 prosecution of the Derivative Actions on a contingent basis, and will not exceed 27% of the

 Settlement Fund. Additionally, Co-Lead Counsel in this Action intend to apply to the Court for

 service awards for each of the Plaintiffs (“Service Awards”) in an amount not to exceed $10,000

 for each Plaintiff, to be paid out of the Court-awarded attorneys’ fees and litigation expenses.

         Assuming the Court preliminarily approves the Proposed Settlement, Plaintiffs’ requested

 Fee and Expense Award will be fully addressed in connection with briefing on Plaintiffs’ motion

 for final approval of the Proposed Settlement. At that time, Plaintiffs will submit additional
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 detailed information in support of their requested award and the Court will have the opportunity

 to evaluate the reasonableness of the request in full. Plaintiffs respectfully submit that, for present

 purposes, the contemplated Fee and Expense Award is within the range of possible approval.

 Plaintiffs have committed to seek no more than 27% of the total monetary recovery achieved by

 the Proposed Settlement, without ascribing any valuation to the significant governance reforms

 achieved by the Proposed Settlement. “It is not abnormal for negotiated attorneys’ fee awards to

 comprise between 20% to 30% of the total award.” Does 1-2 v. Déjà vu Services, Inc., 925 F.3d

 886, 898 (6th Cir. 2019); see also Schuh v. HCA Holdings, Inc., Civil Action No. 11-cv-01033,

 2016 WL 10570957, at *1 (M.D. Tenn. April 14, 2016) (awarding “attorneys’ fees of 30% of the

 [$215 million total] Settlement Amount,” holding “the awarded fee is in accord with Sixth Circuit

 authority and consistent with other fee awards in cases of this size”). 20

        D.      The Proposed Notice is Adequate and Reasonable

        No later than five business days after the Court grants preliminary approval, the Company

 will notify current FirstEnergy stockholders by (a) filing a copy of the Stipulation and the Notice

 (in the form attached as Exhibit D to the Settlement Stipulation) as an exhibit to a Form 8-K with

 the United States Securities and Exchange Commission, (b) posting a copy of the Settlement

 Stipulation and the Notice on the Company’s corporate website, which documents shall remain

 there through the Effective Date of the Settlement, and (c) publishing a Summary Notice (in the

 form attached as Exhibit E to the Settlement Stipulation) in Investor’s Business Daily or similar




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            Indeed, numerous federal District Courts nationwide have awarded comparable or higher
 fees in large complex actions such as this one. See, e.g., Kritzer v. Safelite Solutions, LLC, 2012
 WL 1945144, at *9 (S.D. Ohio May 30, 2012) (fee award of nearly 52%); Peace Officers’ Annuity
 & Ben. Fund of Ga. v. Davita Inc., 2021 WL 2981970, at *5 (D. Colo. July 15, 2021) (fee award
 of 30%).
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 publication. The Company will assume administrative responsibility for and will pay any and all

 costs and expenses related to disseminating the Notice.

        The proposed Notice will advise the Company’s stockholders of the essential terms of the

 Proposed Settlement, and of information regarding Plaintiffs’ counsel’s intended application for

 Court approval of a Fee and Expense Award and Service Awards to be paid therefrom. It also will

 set forth the procedure for objecting to the Proposed Settlement and/or the Fee and Expense Award

 and Service Awards, and will provide specifics on the date, time and place of the Settlement

 Hearing, thereby satisfying the requirements of Rule 23.1. See, e.g., Bailey v. White, 320 F. App’x

 364, 367 (6th Cir. 2009) (“notice must ‘be reasonably calculated, under all the circumstances, to

 apprise interested parties of the pendency of the action and afford them an opportunity to present

 their objections’”) (quoting UAW v. Gen. Motors Corp., 497 F.3d 615, 629 (6th Cir. 2007)). The

 same type of notice proposed here has been approved by other courts in this District as fully

 satisfying the requirements of Rule 23.1 and the requirements of due process. See In re Big Lots,

 Inc. S’holder Litig., Case No. 12-cv-445 (S.D. Ohio Apr. 6, 2018), ECF No. 120, Preliminary

 Approval Order at 4 (Ex. 12 hereto) (providing for similar notice program to stockholders); Booth

 Fam. Tr. v. Jeffries, No. 05-cv-0860 (S.D. Ohio Nov. 01, 2011), ECF No. 254, Preliminary

 Approval Order at 3 (Ex. 13 hereto) (same).

 V.     THE PARTES’ PROPOSED SCHEDULE OF EVENTS

        Pursuant to the proposed Preliminary Approval Order, the parties propose the following

 schedule of events leading to the Settlement Hearing:


                      Event                                             Date


                                                   Within 5 business days after entry of the
  Filing of Notice via Form 8-K with the SEC
                                                   Preliminary Approval Order


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                       Event                                            Date


                                                   Within 5 business days after entry of the
  Posting of Notice on FirstEnergy’s website
                                                   Preliminary Approval Order
  Last day for counsel for FirstEnergy to file
                                                   At least 21 calendar days prior to the
  appropriate proof of compliance with respect
                                                   Settlement Hearing
  to dissemination of Notice
  Filing of all papers in support of the
                                                   At least 28 calendar days prior to the
  Proposed Settlement, including the Fee and
                                                   Settlement Hearing
  Expense Award and Service Awards
  Last day for Current FirstEnergy
                                                   At least 14 calendar days prior to the
  Stockholders to comment on the Proposed
                                                   Settlement Hearing
  Settlement
  Filing of all reply papers in support of the
                                                   At least 7 calendar days prior to the
  Proposed Settlement, including responses to
                                                   Settlement Hearing
  Current Shareholder comments, if any
                                                   At least 65 calendar days after entry of the
  Settlement Hearing
                                                   Preliminary Approval Order

        The parties’ proposed preliminary approval order also includes a customary prosecution

 bar enjoining Plaintiffs, FirstEnergy, or anyone else from commencing or prosecuting any other

 action asserting any of the claims alleged in this Action—including the Northern District Action

 and the State Court Action—pending this Court’s determination as to whether final approval

 should be granted. See Ex. C to Settlement Stipulation at ¶16. All parties in all of the Derivative

 Actions support the Proposed Settlement. Absent a prosecution bar, Plaintiffs in another court

 may nevertheless be forced to prosecute (1) the same claims; (2) on behalf of the same party

 (FirstEnergy); (3) against the same Defendants, that this Court will release if it approves the

 Proposed Settlement.     This would undermine the Proposed Settlement and could deprive

 FirstEnergy of the benefits of the Proposed Settlement before it has been considered following

 notice and a final approval hearing in this Court. FirstEnergy only has the right to recover once

 against its Officers and Directors for the misconduct alleged here.

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        Plaintiffs further note that because the Proposed Settlement is supported by all parties to

 all of the Derivative Actions and this motion for preliminary approval is unopposed as to the relief

 sought, no responses or reply briefs are expected. Accordingly, this Motion is now fully briefed.

 VI.    CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court grant preliminary

 approval of the Proposed Settlement, approve the form and manner of the parties’ proposed Notice

 approve and direct the implementation of the Notice plan, and schedule a Settlement Hearing.



 Dated: March 11, 2022                         Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2022, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will send notification of such filing to all attorneys

 on record.


                                                     /s/ John C. Camillus
                                                       John C. Camillus




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